
29 So.3d 428 (2010)
F.W., A child, Appellant,
v.
STATE of Florida, Appellee.
No. 5D09-2138.
District Court of Appeal of Florida, Fifth District.
March 5, 2010.
James S. Purdy, Public Defender, and Leonard R. Ross, Assistant Public Defender, Daytona Beach, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Carmen F. Corrente, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
In this appeal from a juvenile disposition, the State concedes that the trial court *429 erred by assessing costs of prosecution. See S.D.J. v. State, 21 So.3d 140 (Fla. 5th DCA 2009); D.A. v. State, 11 So.3d 423 (Fla. 4th DCA 2009) (holding that section 938.27(1), Florida Statutes, does not authorize courts to impose costs of prosecution on juvenile adjudicated delinquent). Accordingly, we remand with directions that these costs be stricken. In all other respects, the adjudication of delinquency and disposition are affirmed.
AFFIRMED IN PART, REVERSED IN PART AND REMANDED WITH DIRECTIONS.
SAWAYA, ORFINGER and TORPY, JJ., concur.
